.\'nrth Citrolina iiitn\lai Liic lnsuranctl Cuinpan_v. et. al.. i’inintiff(s)
vs.

Service of Proccss b_\'
APS internationa|, Ltd.
1- 800- 328- 7171

 

Stnn\i'ord iirook Ct\pltitl l.i,C... et. al., l)ei`cntiant(s) ‘____ .
»th tNTb““‘T'O\\L _i APS international Piau

‘“" - ' 7800 Gicnro_v Rd.

i\|int\capoiis. .\iN 55439-3\`.'2

,\I’S Fiiu#: moll-onus
AFFIDAVIT OF SERViCE -- individual

Scrvicc uf Proccss on:

' .~ .1» !. ‘N. , --Stevcn \\'.Flckes.Presiticnt.i’ortRoyalReassnr;lnce
\\|LL|\MS 'iil l l.i:. l‘.i r\l company`spc le.

1 M" K|tt,v ilice Cnurt Casc Nu. 1116ch 174
200 S. lO|ll Sl.. Ste. 16le
Rlchntonti, VA 23219

    
 

Sme or,District of Columb;i. ,s,
Conntyor: Washington )

N'.nne of Scrver: Jas°“ Gl`°b , undersigned being duly swom. deposes and says

that at the time oi' service. s/he was of legal age and was not n party to this action1

 

 

[)'.ttefl'imcot’$crvice: rhgrqn;h¢ 29thday of September .20 l.§ .at ,_13_22 O'Clock P__M
place ofs"r"'cc: al 8600 Cutltitr)'Clttb Dri\'e 1 in Ucthesd;l, .\iD 2081_7_ _

Doc\uneuts Served: the undersigned served the documents described ns:
S&tnntuns_: Notice oi' Ri§in to (_Ionscnt: Consent ai°Jnr_isdiction by a U.S. nlngistr_'ate Jud_g_e
C_o_nn)ialn_| and Motion for i’relll_nittar_y injuttctlt)n'i_tntl l\'l_emnrttndum in Support_

.\'icdiators |.isl

S°r\'i€¢ Of Pl'OCv-‘»'S 01\= A true and correct copy oi`thc aforesaid document(s) was served on:

Stcveu W. Fickcs, i’residcnt PortRo\ai Reassutance_ Con\pan_v SPC Ltd.
l’erson Serveti. and

Mmmd ursu.`.lcc, X By personally delivering them into the hands of the person to be served.
_ By delivering them into the hands of ,a person
of suitable age, who verit`\cd or who upon questioning stated. that itc/she resich with
Ste\'en W. Fickes. i'residci_\t. |'urt lio\'a| Renssttrttncc Ct_)tnpuny Si’C I.td.

at the place of scrvice, and whose relationship to the person is:

 

inscription oi' i’erson

Thc person receiving documents is described as t`olio\vs:
Rceeiving Doctunents:

Sex M__: Skin Coior Whife ; i~iair Coior_G_rgY___; Faciaii-iair
l
Approx.Age 66 : Approx.i~ieight 5 9" : Approx.Weightl§_O____

X, To the best of` my knowledge and beiici`, said person was not engaged in the US Miiitary at
the time ofservicc.

 

 

 

 

Signalurc oi`Scrver: Subseribed and sworn lo bet`ore me this

day r§ dmic)€v” 20 l(,o

l [`/t c/i/rzi\

(Commission Expires)

Undersigned declares under penalty of perjury
that the foregoing is true and eorrcct.

S¢.E;M,,

ignaturc ol` Scrver

    

APS intet'ntttlonal. Ltd.
ANGELA H. CROSON
NOTARV PUBLEC DiSTi-'iiCT 0~.’= COLUMB|A
My Con‘.mtssion Expires t»tarcn 31. 2019

EXH|B|T

l cr

Case 1:16-cv-01174-LCB-.]EP Document 15-8 Filed 10/21/16 Pacie 1 of 1

